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Jonathan Ted Dutczak PRO SE
23240 88th Ave. s. Apt11204 JAN 2 2 2018
Kent Wa. 98031 m SEA`iILE `
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air

UN|TED STATES D|STRlCT COURT
WESTERN DlSTRlCT OF WASHlNGTON AT SEATTLE

VENlCE P|,Ll.C,

) Civi| Action No. 17-cv-99OTSZ
Plaintiff )
l

 

Vs

JONATHAN DUTCZAK; GARRETT COX ; l\/lARY ELLEN AVELAR, )

DOE 5; W|LBUR M|LLER; ROSLYN COY; LLANG SUN; FASIKA ) l\/linute Order Response Docume tt

GETAHUN; and STACY FOSTER: Defendants ) 50 01.08.2018

' Dated 01.19.2018
FACTS AND REASONlNG

in response to the court's second l\/linute Order (Document 50 dated 01.08.2018) l declare under
oath that | did not use Bit Torrent technology to view, download, or share any portion of the motion
picture ”Once Upon a Time in Venice” on June 18, 2017 at 21209:43 UTC (2:09:43 p.m. Seattle time) as
alleged in the Plaintiff’s Amended Complaint (C17-990, docket no. 16). Furthermore, l was not at home
at that time on Sunday, June 18, 2017, because l was at Phil|ip l\/lendigorin’s property in Kent, Wa.
burning tree stumps. l returned home around 23:00 hours that day. See enclosed letter from l\/lr.
l\/lendigorin, exhibit AAA. l routinely spend Sundays and l\/londays at Mr. l\/lendigorin’s residence. l

ln addition to multiple shortcomings of proof~from_both of Judge Zi|ly's minute orders and my two l
responses l add the following Plaintiff claims in his'10.13.2017 emai| to me (2ncl |\/linute Order l
Defendant Exhibit) to have pursued over 1,000 copyright infringement cases. As such l find no excuse for

' the veteran Plaintiff's lack of professionalism, statutory damage threats and implied threats, improper

joinder (defendants in a swarm is insufficient), questionable ownership of a valid copyright, disruption of
Defendant's lives, lack of expert evidence (neither relevant or reliable) to support his claims [(intentional
usage of foreign witnesses to promote degrees of separation (unable to subpoena, cross exa'mine, do l
depositions, inspect or discovery)] and outdated /dysfunctional/unreviewable/trade secret software
for acquirement of (possib|y fake) lP addresses (followed by subpoena abuse to identify John Does),
software showing downloaded movies in languages not spoken by the defendant, software which is
never reviewed for false positives and beyond discovery, ignoring a large proportion of false positives,
software which is not peer reviewed or published or tested with no known rate of error or accepted ir
the scientific community (Mathew Sag and lake Haskel|; Defense Against the Dark Arts, pg.2 below), `
using technological doublespeak and programs that do not do what they say they do(Maverick Eye
technical limitations), using shelf corporations and nonexistent foreign experts, using generic and
boilerplate complaints which fail to show cause ( Defense Against the Dark Arts of Copyright Trol|ing,#
p.143), fails Twomb|y and is formulaic. Courts have already rejected attempts to prove infringement b
snapshot (#6, p.145,5ag and Haske|l), no human witnesses to lP address observations (#7, p. 145, Sag
and Haske|l), ongoing disregard of RCW's 18.165.020 for unlicensed business practices to pursue
investigations and surveillance of Washington State residents for said lP addresses and bogus geo
location software (think putting Defendant at the scene of the crime), fishing expeditions that abuse the
court system,~y prior ludge Richard A. Jones’ (Case 216-cv-01272-RAJ) noted P|aintiff', sloppiness ( 10%
fine, cut and paste style of formulating claims and constant intimidation), non- manageable levels of
lawsuits, bu|lying and misidentifying defendants, their apartment dwelling neighbors (763 immediate

 

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dwellings and 09 more complexes within a mile of Def.), piggybacking on defendant's WiFi and lSP
providers , 37 available WiFi entrée points available to neighbors for computer infiltration, Plaintiff l
expecting the Defendant to impersonate the Police and search for real culprits and also support the FlB.|
in doing so), gross deceit of why computers run slowly (P|aintiff's torrenting claim), Plaintiff's targeting
innocent children' s computer habits, Plaintiff's denying spoofing and multiple users of Defendant’ s l
computer or lP address, unjustified time extensions, Plaintiff's' ignoring used computers possibility ofl
being filled with torrenting activity, prior expert’ s signature replications and resume patterning, l
demand |etters, lying that the account holder and John Doe are the same, unlimited arrogance and l
fearlessness of Pro Se defendants since they are unlikely to collect fees and costs (see a dozen noted
Plaintiff's voluntary dismissals when dealing with Attorney Christopher Lynch with each letter
identifying unique multiple reasons for dismissals, looming fraud exposure, and exposing guidelines for
defense tactics and to overcome learning curves), willfully trying to bypass rule 26(f), not playing by tllie
rules both humanely and with Local Civi| Rule 7. 1. (a), engaging multiple defense attorneys to l
underhanded|y do fast settlements against their clients (promoting the threat of high fees of Federa|
|itigation, enduring abuse and unjustified embarrassment of a lawsuit and accusations and making otlher
attorneys admit that they are yet unaware of how else to defend their own clients or giving them a
chance to do so) rather than being dutiful and respecting the Bar Association. The Plaintiff only wantdl
money and is not growing from this experience as l have. Plaintiff's actions identify and punish both l
innocent and guilty individuals and those who cannot afford or have the demeanor to defend l
themselves. As such many suffer needlessly. The fact that no copyrighted material was ever found in the

possession of the Defendant and no forensics review of Defendant's used computers ever occurred l

shows that Defendant's denial of not having or distributing said movie must be admitted into evidencle.
A copy was never made nor portion thereof. A (35 kb approximately) computer blip (of ones and l
zeroes) which German scientist Dr. Simone Richter (for Plaintiff) says cannot be seen by the naked eye
therefore in no way constitutes viewing said movie, distributing said movie, or owning said movie and is
not a copy per copyright standards. The U.S. Copyright Office remains silent on this copyright issue, (a`s
noted by Law Professor l\/latthew Sag and Attorney lake Haskell SSRN in their 87 page article Defense
Against the Dark Arts of Copyright Trol|ing and written recently on November 17, 2017 and equally asl
reliable and insightful as the letters by Attorney Christopher Lynch). Also from the same article when
using Lexl\/lachina database for 2015 and 2016 only one disfigured bench warrant case out of 9,956
cases proceeded to court. There is, by example, no going to court in these matters.

|n reality, Plaintiff does not know who is a culprit, if a crime was even committed, or its' source or
motive. Hard evidence rather than speculation must be used for plausibility. Defendant has no history
nor has he distributed anything as claimed by the Plaintiff. A hash tag and |P address does not make a
subscriber to Comcast a torrenting copyright infringer.

Should the court find in my favor to dismiss with prejudice l would also seek monetary restitution in
this matter for costs and approximately forty hours of writing and research put forth. And here l thought
| would have little reason to remember my upcoming 02.15.1959 Birthday.

CONCLUS|ON:
Please dismiss Plaintiff's lawsuit with prejudice for the reasoning and facts stated above; B. Prior l
Dismissal Request and response to initial l\/linute Orclers; C. Prior Exhibits and l\/lr. l\/lendigorin's letter

T ' motion is truthf©\der penalty of Perjury,

 

J athan Ted Dutczak
01.19.2018
Page 2.

 

 

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~ (; §LA’\¢ , goff 9

Phillip l\/lendigorin
27709 199"‘ Ave S.E.
Kent Wa. 98042

01.22.2018

This letter' ls for Jonathan Ted Dutczak's court case regarding his whereabouts on June 18, 2017 at

212 09 .43 UTC 2: :4~ ` ded£omn|aint lC17-qq(l
ay w1 me, arriving at my house (|ocated in Kent at

the above heading) m the morning and leaving late into the night after we cut wood and burned stumps

and roots, around 11 p. m. We frequently spend our weekends together. Under penalty of perjury,|
make this claim,

/

Phillip n ' orin

 

 

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